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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 0:20-cv-62002-WPD

   ONEMATA CORPORATION,

          Plaintiff,

   v.

   ASHFAQ RAHMAN and
   SABIRA AREFIN,

          Defendants,

   vs.

   WILLIAM SMITH and ENSCICON
   ACQUISITIONS II, LLC,

         Third-Party Defendants.
   ___________________________________/

    RAHMAN’S SUPPLEMENTAL REPLY IN SUPPORT OF HIS MOTION TO VALUE
   ONEMATA STOCK BEFORE SUPPLEMENTAL PROCEEDINGS ARE COMMENCED
          Ashfaq Rahman (“Rahman”) supplementally replies in support of his Motion to Value
   Onemata Stock Before Supplemental Proceedings are Commenced [D.E. 508] (the “Motion”).
   A.     Introduction
          Rahman is not trying to stay collection or obtain discovery from Onemata. Instead, Rahman
   seeks fair and adequate remuneration for his Onemata equity Onemata claims to possess. Rahman
   demonstrated under his Motion that Onemata believes his stock is worth $10 million to $15
   million, thereby satisfying the judgment based on Onemata’s own valuation. Therefore, Rahman
   requests an independent party value the stock so that Rahman can consummate the equity
   conveyance transaction, receive fair compensation for his asset, and end the parties’ dispute.
   Rahman should not be subjected to further execution efforts when Onemata already possesses
   Rahman’s asset (according to Onemata), which is worth more than the judgment.
          Rahman files this Supplemental Reply because Onemata provided Rahman with its First
   Amended and Restated Stockholders Agreement two days after he filed his Reply. D.E. 518. In



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   doing so, Onemata finally admitted it never provided a copy of the document to Rahman during
   pre-trial discovery. See D.E. 520-1 (Onemata’s counsel stating “I believed it had been produced
   with a bates number but it seems it was not produced.”); see also D.E. 498 at pp. 3-4 (finding that
   Onemata “asserts that Defendant/Judgment Debtors were previously provided with the corporate
   governance documents.”) (citing D.E. 484 at p. 3). The plain terms of the First Amended and
   Restated Stockholders Agreement (“Stockholder Agreement”) confirms Rahman’s suspicions all
   along. Onemata had no authority to unilaterally purchase Rahman’s or Arefin’s equity.
   B.     Onemata never re-purchased Rahman’s and Arefin’s equity under the Stockholder
          Agreement because they were never Onemata employees or disabled, and Onemata
          failed to comply with the appraisal requirements under the Stockholder Agreement.
          The Stockholder agreement provides Onemata limited authority to unilaterally repurchase
   stock when employees are terminated and security holders die or become disabled. D.E. 520-2 at
   p. 6 ¶ 3.1(a)(i) (“If a Securityholder’s employment with the Company is terminated… the
   Company… will have the right and option to purchase from that Securityholder all of the Company
   Securities owned by that Securityholder as of the date of termination of the Securityholder’s
   employment….”); Id. at pp. 5-6 ¶ 3.1(1)(b) (“Upon the death or Disability… of a Securityholder
   who is an individual, the Company or its assignee will have the same Repurchase Option as in
   Section 3.1(a) above….”). However, these provisions do not apply to Rahman and Arefin because
   they were never Onemata employees, are not dead, and are not disabled. Therefore, the
   Stockholder Agreement does not provide Onemata any authority to unilaterally re-purchase
   Rahman’s or Arefin’s Onemata stock, and certainly does not require Rahman and Arefin to sell
   their stock at a price mandated by Onemata. Onemata should accordingly be required to submit
   itself to a neutral valuation so that Rahman can sell his stock to Onemata for a fair price and obtain
   fair credit against the judgment.
          Rahman was never an Onemata employee because he worked for LocalBlox. See D.E. 373-
   4 (Executive Employment Agreement between LocalBlox and Rahman). In fact, the Court entered
   summary judgment against Rahman on his claims against Onemata for breach of his employment
   agreement because the claims were brought against Onemata instead of LocalBlox. D.E. 259 at p.
   16. Onemata is therefore equitably estopped from now claiming Rahman was an Onemata
   employee. See Florida Dept. of Health & Rehab. Services v. S.A.P, 835 So. 2d 1091, 1096 (Fla.
   2002) (quoting State ex rel. Watson v. Gray, 48 So.2d 84, 87–88 (Fla.1950) (quoting 3 Pomeroy's
   Equity Jurisprudence § 804 (5th ed.1941) (“Equitable estoppel is based on principles of fair play

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   and essential justice and arises when one party lulls another party into a disadvantageous legal
   position.”)).
           Arefin was a consultant for LocalBlox, not Onemata. See D.E. 373-5 (Consulting
   Agreement between LocalBlox and Arefin). Therefore, Arefin was never employed by Onemata
   or LocalBlox. Id.
           Rahman and Arefin are not disabled because no claim or evidence suggests either was
   unable to substantially perform his or her duties as an employee or director of Onemata due to
   sickness or injury for more than twelve days. See D.E. 520-2 at p. 6 ¶ 3.1(1)(b) (defining disabled
   as an “individual [who] has been unable to substantially perform his or her duties as an employee
   or director of the Company as a result of sickness or injury; and he or she remained unable to
   perform any such duties for a period of more than one hundred twenty (120) days in any twelve
   (12) month period.”). Rahman and Arefin also are not dead. Therefore, Onemata has no basis to
   unilaterally re-purchase Rahman’s or Arefin’s stock.
           Onemata failed to comply with the Stockholder Agreement’s repurchase terms thereby
   nullifying any alleged sale. The Stockholder Agreement requires Onemata and Rahman to attempt
   to agree on a fair market price within fifteen days after Onemata notified Rahan and Arefin of its
   intent to repurchase. Id. at p. 8 ¶ 3.2 (“The parties to the purchase and sale shall attempt to agree
   upon a fair market value per share within fifteen (15) days of the date of the Repurchase Option
   Exercise Notice under Section 3.1.”). The Stockholder Agreement also obligated Onemata to allow
   Rahman an ability to designate an appraiser to value Onemata. Id. (“If the parties are unable to
   agree upon a purchase price… The transferring shareholder… shall designate one certified public
   accountant (CPA) and the acquiring party (the Company or Smith, as the case may be) shall
   designate one CPA.”). Onemata did neither. Onemata never provided Rahman an opportunity to
   negotiate the price of his stock or select a CPA that could conduct the valuation. See D.E. 496-17
   at pp. 3-4 (Onemata’s December 7, 2022 letter dictating the share price at $0.1299). Onemata
   allotted Rahman less than two days’ notice before the alleged purchase occurred. See D.E. 496-17
   at p. 4 (Onemata’s December 7, 2022 letter informing Rahman of its intention to repurchase
   Rahman’s stock on December 9, 2022). Therefore, Onemata never complied with the repurchase
   requirements in its own Stockholders Agreement. Id.
   C.      Onemata had no authority to force Rahman to sell his Onemata equity and had no
           power to unilaterally dictate the sale terms.


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          Onemata cannot unilaterally and arbitrarily set the buyback price for Rahman’s equity
   merely because it is the judgment creditor. See Fla. Stat. 607.1302 (“A shareholder of a domestic
   corporation is entitled to appraisal rights, and to obtain payment or the fair value of that
   shareholder’s shares.”); Colo. Rev. Stat. Ann. § 7-113-102 (same); Foreclosure FreeSearch, Inc.
   v. Sullivan, 12 So. 3d 771, 778 (Fla. 4th DCA 2009) (Although “the majority shareholder [have] a
   right to engage the appraisal process to eliminate the rights of dissenting shareholders and put an
   end to corporate strife[, t]he process must produce a fair result for the minority shareholders.”).
   Onemata had to purchase Rahman’s stock for its fair market value at the time of sale and undertake
   the proper seizure mechanisms. See Bright's Estate v. U. S., 619 F.2d 407, 410 (5th Cir. 1980), on
   reh'g, 658 F.2d 999 (5th Cir. 1981) (using the market value test to value equity, which requires the
   court to determine “the price at which [the equity] would have changed hands between a willing
   buyer and a willing seller, neither being under any compulsion to buy or to sell and both having
   reasonable knowledge of relevant facts.”) (internal quotations omitted); King v. King, 313 So. 3d
   887, 891 (Fla. 1st DCA 2021), reh'g denied (Mar. 29, 2021) (“The valuation of a business is
   calculated by determining the fair market value of the business, which is the amount for which a
   willing buyer and a willing seller would exchange assets, absent duress.”) (internal quotations
   omitted); Fla. Stat. § 678.1121 (1) (“The interest of a debtor in a certificated security may be
   reached by a creditor only by actual seizure of the security certificate by the officer making the
   attachment or levy.”). Onemata failed to provide any authority in opposition to Rahman’s motion
   suggesting that it can ignore these fundamental requirements and set the value based on an outdated
   biased report from its own expert. Therefore, a neutral-third party should be appointed to value the
   Onemata equity, ensure Rahman obtains fair-market-value for his stock, and ensure Rahman
   obtains equivalent fair-market value offset for the judgment debt.
   D.     The Court has jurisdiction to compel a neutral business valuator to value Onemata
          and Rahman’s Onemata equity because Rahman’s appeal is based on a valuation of
          LocalBlox.
          Onemata attempts to misdirect this Court by arguing it lacks jurisdiction to rule on
   Rahman’s Motion because the relevant issues were already tried and subject to appellate review.
   See D.E. 513 at p. 5 (“This Court lacks jurisdiction to order the valuation of the stock repurchased
   by Onemata while the Judgment Debtors’ appeal is pending.”). The Court should not be persuaded
   because the value of Onemata was never litigated, never tried, and therefore not an issue on appeal.
   In fact, the Court prohibited Onemata from admitting trial evidence regarding Onemata’s value.

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   D.E. 384 at p. 18:23 (sustaining Rahman’s objection to Onemata’s attempt to admit evidence
   regarding Onemata’s value).
          Onemata submitted evidence during trial regarding LocalBlox’s value. The sole purpose of
   this evidence was to establish Onemata’s damages by demonstrating Onemata overpaid for
   LocalBlox. Ronald Seigneur (“Seigneur”) exclusively provided the damages evidence by testifying
   about LocalBlox’s true value as of the December 19, 2019 purchase date. See D.E. 384 at p. 18:8-
   14 (“Q. Do you recall what the purchase price was for the company1 including all of the
   consideration as of December 18th? A. Slightly less than eight million. Q. And what was your
   valuation as you valued it considering all of these factors? What is the valuation you believe of the
   company actually was on 12-18? A. $2,338,000.”); see also D.E. 384 at p. 14:2-20 (testifying
   about the circumstances of LocalBlox that affected the financial opinions), p. 80:1-5 (examining
   LocalBlox’s profit and loss statement); D.E. 387 at p. 62:11-23 (Onemata’s attorney providing
   closing argument about “the real value of the company on the date of the purchase”, asserting that
   Ron Seigneur was “the only person that testified about the value on the day they bought it”, that
   Seigneur’s “valuation was a fair market value on December 19th of 2019 of $2,338,000”, and that
   the value of LocalBlox “wasn't eight million, but it was 2.3.”). Therefore, this Court has
   jurisdiction to rule on the Motion because Seigner never opined on Onemata’s value during trial.
   See, generally, D.E. 384 (Court neglecting to provide a valuation for Onemata).
          Rahman maintains post-judgment and on appeal that Seigneur’s LocalBlox valuation was
   flawed because no evidence supports his foundational factual assumptions pertaining to
   LocalBlox. See, e.g., D.E. App. 43 at p. 44 (“Onemata had to prove Rahman breached the Purchase
   Agreement by causing LocalBlox to distribute X-Mode data to Prohibited Customers, misuse
   customer servers, and fail to pay sales tax.”) (emphasis supplied). Rahman argues on appeal that
   Onemata “failed to establish that Rahman breached the Purchase Agreement by causing LocalBlox
   to disseminate X-Mode data to Prohibited Customers on or before the Purchase Date.” Id. at pp.
   45-48 (emphasis supplied). Rahman additionally argues Onemata “failed to establish that Rahman
   breached the Purchase Agreement by causing LocalBlox to misuse its customers servers to process

   1
    “The company” cannot refer to Onemata because Onemata did not purchase LocalBlox. Enscicon
   Acquisitions LLC purchased LocalBlox and later merged with Onemata in 2020. D.E. 380 at p.
   45:15-17 (“Q. Can you tell me what Enscicon Acquisition, LLC is? A. That's a company that we
   formed to purchase -- to do the agreements to purchase LocalBlox.”), p. 45:21-23 (“Q. Okay. And
   ultimately, did Onemata merge into Enscicon Acquisition? A. It did.”).

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   data before the Purchase Date.” Id. at pp. 48-53 (emphasis supplied). And Rahman argues that
   LocalBlox’s alleged failure to pay sales tax was not an issue in the case, and thus not a basis to
   value LocalBlox. Id. at pp. 53-55 (“No allegation pertains to unpaid LocalBlox sales tax and no
   evidence established the amount of outstanding sales tax as of the Purchase Date.”) (emphasis
   supplied). All of these arguments are directed to LocalBlox, not Onemata. Therefore, Rahman’s
   appeal does not interfere with the Court’s jurisdiction to issue an order requiring a neutral third-
   party to value Onemata because Rahman’s appeal is directed to Seigneur’s valuation of LocalBlox.
          There was no reason to elicit evidence from Seigneur or any other witness regarding
   Onemata’s value because the evidence would have been irrelevant to any claim or controversy in
   the lawsuit. Onemata alleged Rahman’s and Arefin’s contractual breaches caused Onemata to
   purchase LocalBlox at an inflated price. See D.E. 73 at ¶¶ 7-74, 89-96. Determining this purported
   price does not require a valuation of Onemata because the Court already ruled that Onemata and
   LocalBlox are separate and distinct companies. See D.E. 259 at p. 16 (“There is no record evidence
   that Onemata or Enscicon ever merged or consolidated with LocalBlox, Inc., which remains a
   separate legal entity.”).2 Therefore, there was no reason to proffer evidence relating to Onemata’s
   value (through expert opinion or otherwise) because the issue was wholly irrelevant.

   E.     Rahman is a present shareholder of Onemata because Onemata never obtained a writ
          to seize Rahman’s Onemata security certificate.
          Onemata contends Rahman is not a shareholder without providing any authority to support
   its position. While Onemata issued a buyback letter unilaterally fixing buyback price of Rahman’s
   stock and the purchase date, Onemata fails to provide any contract term demonstrating it had such
   authority or that Rahman assented to such actions. See, generally, D.E. 513; D.E. 496-17. If such
   a provision existed in Onemata’s governing documents (which Onemata refuses to provide), one
   would expect Onemata to rely upon it. The absence of such contractual authority in Onemata’s
   Response provides strong indication that no such authority exists. See, generally, D.E. 513.
   Therefore, the parties must default to the norms associated with buying and selling. The stock’s
   fair market value price must be established before the transaction is consummated. Rahman must

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     It is noteworthy that the operating agreement for Onemata’s predecessor in interest, Enscicon
   Acquisitions, LLC, requires buybacks to be mutually agreed upon, permits a ten-day purchase
   price rejection period, and provides for certain appraisal methods. D.E. 373-2 at pp. 115 § 11.2,
   117 § 11.3.


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   accept the offer price before the transaction is consummated. Onemata cannot upend centuries of
   basic contract law merely because it holds a judgment against Rahman.
          Onemata does not own the stock in question because Rahman rejected the price and terms
   offered by Onemata in its buyback letter. D.E. 487-1 at p. 1. As a result, no transaction was ever
   consummated and Rahman’s equity was never conveyed to Onemata. Onemata does not provide
   any authority suggesting it has unilateral power to force the equity sale (because none exists), and
   Florida statute provides the exclusive method that a judgment credit can acquire a judgment
   debtor’s stock. See supra at p. 4; Fla. Stat. § 678.1121 (1). Therefore, Rahman’s rejection of
   Onemata’s purchase offer precluded the transfer of equity.
          Colvistec AG v. Equitech Int'l Corp, 2020 WL 13595110, at *1 (M.D. Fla. Mar. 26, 2020)
   is in apposite and does not permit Onemata to dictate the sale price of Rahman’s equity to Rahman.
   In Colvistec AG, the judgment debtor tried to force the judgment creditor to accept the judgment
   debtor’s equity in satisfaction of the judgment. Id. The court rejected the judgment debtor’s
   approach because the judgment creditor is permitted to forego certain judgment debtor assets in
   favor of other assets. Id. This is not the case here because Onemata proclaims to already own and
   possess Rahman’s equity. See D.E. 518-1 at p. 21:13-23:6 (Onemata’s counsel representing
   Rahman does not own his Onemata stock). Rahman is not trying to force Onemata to accept his
   equity in lieu of other assets, but instead, requesting that he be fairly compensated for the equity
   Onemata proclaims it already possesses. Otherwise, Rahman will not receive the proper judgment
   offset and Onemata will be permitted to collect more than the judgment value.
   F.     Rahman's and Arefin’s equity ownership in Onemta’s is worth more than
          $669,354.44.
          As previously argued, Seigneur’s valuation is not the only method to value Rahman’s
   equity. Rahman’s Onemata equity could be valued based solely on revenues. Onemata’s CTO,
   Brad Brown indicated this fact in a June 5, 2020. Mr. Brown stated, “if we can get to $5M in
   recurring revenue, it would be a[ttractive] for [ZoomInfo] to buy us and pay $200M – today.” D.E.
   375-9 at p. 1; see also D.E. 518-2 (showing Onemata revenues of $3,831,278 after nine months).
   This revenue only valuation can be common in the tech industry. Seigneur’s valuation is not
   therefore the only method to value Onemata. There are different approaches based on a variety of
   factors and a neutral appraiser should be used to select the correct appraisal method and calculate
   the appraisal thereafter.


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          Also as previously argued, Onemata miscalculated the value of Rahman’s and Arefin’s
   collective shares assuming Seigneur’s report is true. Onemata claims its value was $2,003,000
   based on Seigneur’s valuation. D.E. 496-17. However, Seigneur’s valuation indicates the total
   value of Onemata is $3,806,000. See D.E. 171-1 at pp. 102, 130. Seigneur valued Onemata’s class
   A shares at $2,003,000 and class B shares at $1,803,000. Therefore, the combined value of
   Onemata’s class A and class B shares is $3,806,000 [$2,003,000 + $1,803,000= $3,806,000].
   Applying the same logic, the value of Rahman’s and Arefin’s collective Onemata equity should
   be at least $847,966. There are 10,953,473 class B shares. See D.E. 508-1 at p. 2. Rahman owns
   2,575,758 class B shares and Arefin owns 2,575,758 class B shares. Id. Therefore, Rahman and
   Arefin own 47.03% of class B shares [(2,575,758 + 2,575,758) ÷ 10,953,473 = 47.03%]. Assuming
   Seigneur’s Class B valuation of $1,803,000 was correct (which it is not), Rahman and Arefin were
   owed $847,966 for their equity [$1,803,000 × 47.03% = $847,966].
          Alternatively, Will Smith admitted Rahman and Arefin owned a combined total of 34% of
   Onemata. D.E. 380 at page 240:19-241:3. As a result, Rahman are Arefin should be credited $1.3
   million for their Onemata equity [34% × $3.8 million = $1.3 million].
   G.     Conclusion
          Rahman respectfully requests that the Court grant his Motion to Value Onemata Stock
   Before Supplemental Proceedings are Commenced; appoint a neutral third party to appraise the
   value of Onemata, Rahman’s Onemata equity, and Arefin’s Onemata equity as of December 8,
   2022; issue an order prohibiting Onemata from taking any further collection actions in this case
   including supplemental proceedings and third-party actions until this valuation is completed; or
   alternatively deem the judgment full satisfied; and grant such other and further relief the Court
   deems just and proper under the circumstances.




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                                                                Respectfully submitted,


                                                                Mavrick Law Firm
                                                                Attorneys for Ashfaq Rahman
                                                                1620 West Oakland Park Boulevard
                                                                Suite 300
                                                                Fort Lauderdale, Florida 33311
                                                                Telephone: (954) 564-2246
                                                                Peter T. Mavrick, Esq.
                                                                E-mail: peter@mavricklaw.com
                                                                Jacob M. Resnick, Esq.
                                                                Email: jacob@mavricklaw.com

                                                           By: /s/ Jacob M. Resnick
                                                              Peter T. Mavrick, Esq.
                                                              Florida Bar No. 0083739
                                                              Jacob M. Resnick, Esq.
                                                              Florida Bar No. 0085314




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                                         CERTIFICATE OF SERVICE
            I certify that, on June 28, 2023, the foregoing document was served via email through the
    Court’s CM/ECF portal on all counsel of record at the email addresses enumerated on the Service
    List below.
                                                    /s/ Jacob M. Resnick




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